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                                            THE CITY OF NEW YORK
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                                                                    June 27, 2025


      VIA ECF
      The Honorable Jessica G.L. Clarke
      United States District Judge
      Southern District of New York
      500 Pearl Street
      New York, N.Y. 10007


                       Re: SeanPaul Reyes v. City of New York, 23 Civ. 6369 (JGLC)

      Your Honor:

                     I am a Senior Counsel in the office of Muriel Goode-Trufant, Corporation
      Counsel of the City of New York, representing defendant City of New York in the above
      referenced matter. The parties write jointly to respectfully request that the Court execute the
      parties’ Confidentiality Stipulation and Proposed Order Regarding Videotaped Depositions of
      NYPD officers During the Pendency of this Litigation which is annexed hereto and in
      accordance with the Court’s prior order.

                       Thank you for your consideration herein.

                                                                    Respectfully submitted,

                                                                    /s/ Mark D. Zuckerman
                                                                    Mark D. Zuckerman
                                                                    Senior Counsel

      cc:    All Counsel (via ECF)
